Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 1 of 43 PageID: 9376



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY

  CELGENE CORPORATION,

              Plaintiff,                        C.A. No. 17-3159 (ES)(MAH)

        v.

  PAR PHARMACEUTICAL, INC., PAR
  PHARMACEUTICAL COMPANIES, INC.,
  and TEVA PHARMACEUTICALS USA,
  INC.,

              Defendants.

  CELGENE CORPORATION,

              Plaintiff,
                                                C.A. No. 17-3387 (ES)(MAH)
        v.

  HETERO LABS LIMITED, HETERO
  LABS LIMITED UNIT-V, HETERO
  DRUGS LIMITED, HETERO USA, INC.,
  AUROBINDO PHARMA LIMITED,
  AUROBINDO PHARMA USA, INC.,
  AUROLIFE PHARMA LLC, EUGIA
  PHARMA SPECIALTIES LIMITED,
  APOTEX INC., APOTEX CORP., MYLAN
  PHARMACEUTICALS, INC., MYLAN
  INC., MYLAN, N.V., and
  BRECKENRIDGE PHARMACEUTICAL,
  INC.,

              Defendants.

             DEFENDANTS’ OPENING CLAIM CONSTRUCTION BRIEF
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 2 of 43 PageID: 9377



                                                 TABLE OF CONTENTS

 TABLE OF ABBREVIATIONS ................................................................................................... vi
 I.       INTRODUCTION .............................................................................................................. 1
 II.      LEGAL STANDARDS ...................................................................................................... 2
 III.     LEVEL OF ORDINARY SKILL IN THE ART ................................................................ 3
 IV.      ARGUMENT ...................................................................................................................... 3
          A.        The MOT Patents (’262, ’939, and ’428 Patents) ................................................... 3
                    1.     The Preambles ................................................................................................. 4
                           a.       The Preambles Are Non-Limiting ........................................................ 4
                                      i.      The Preamble Language Supports Defendants’ Position ........... 5
                                      ii.     The Specification Supports Defendants’ Position ...................... 8
                                      iii.    There Was No “Clear Reliance” on the Preambles During
                                              Prosecution. ................................................................................ 9
                    2.     “about 1 mg to about 5 mg per day ….” ........................................................ 12
          B.        The ’427 Formulation Patent ................................................................................ 16
                    1.     “Total Weight Of The Composition” ............................................................ 16
          C.        The REMS Patents ................................................................................................ 20
                    1.     The “Computer Readable” Terms ................................................................. 20
                           a.       These Terms Do Not Require Construction........................................ 21
                           b.       If Construed, They Should Be Construed as Requiring a Medium That
                                       May or May Not Be Centralized ..................................................... 21
                    2.     Prescription Approval Code .......................................................................... 23
                    3.     The “Generator” Term ................................................................................... 28
 V.       CONCLUSION ................................................................................................................. 30




                                                                    ii
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 3 of 43 PageID: 9378



                                              TABLE OF AUTHORITIES

                                                                                                                           Page(s)

 Cases

 Adv. Ground Info. Sys., Inc. v. Life360, Inc.,
    830 F.3d 1341 (Fed. Cir. 2016)................................................................................................29

 Am. Med. Sys., Inc. v. Biolitec, Inc.,
    618 F.3d 1354 (Fed. Cir. 2010)..........................................................................................4, 6, 9

 Amgen Inc. v. Hospira, Inc.,
   Civil Action No. 15–839–RGA, 2016 WL 7013483 (D. Del. 2016) .......................................15

 Audatex N. Am., v. Mitchell Int’l, Inc.,
    No. 13-cv-1523-BEN (BLM), 2014 WL 5800959 (S.D. Cal. Nov. 6, 2014) ..........................21

 Azko Nobel Coatings, Inc. v. Dow Chem. Co.,
    811 F.3d 1334 (Fed. Cir. 2016)................................................................................................15

 Bicon, Inc. v. Straumann Co.,
    441 F.3d 945 (Fed. Cir. 2006)....................................................................................................4

 Bristol-Myers Squibb Co. v. Ben Venue Labs., Ltd.,
     246 F.3d 1368 (Fed. Cir. 2001)..............................................................................................5, 6

 Catalina Mktg. Int’l, Inc. v. Coolsavings.com, Inc.,
    289 F.3d 801 (Fed. Cir. 2002)..................................................................................................11

 Digital-Vending Servs. Int’l, LLC v. Univ. of Phoenix, Inc.,
    672 F.3d 1270 (Fed. Cir. 2012)..........................................................................................26, 27

 GE Lighting Solutions, LLC v. AgiLight, Inc.,
    750 F.3d 1304 (Fed. Cir. 2014)............................................................................................2, 23

 Georgetown Rail Equip. Co. v. Holland L.P.,
    867 F.3d 1229 (Fed. Cir. 2017)................................................................................................10

 Harari v. Hollmer,
    602 F.3d 1348 (Fed. Cir. 2010)..................................................................................................9

 Harari v. Lee,
    656 F.3d 1331 (Fed. Cir. 2011)................................................................................................15

 Hoffmann-La Roche Inc. v. Apotex Inc.,
    748 F.3d 1326 (Fed. Cir. 2014)..................................................................................................8



                                                                  iii
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 4 of 43 PageID: 9379



 ICN Pharm., Inc. v. Geneva Pharm. Tech. Corp.,
    272 F. Supp. 2d 1028 (C.D. Cal. 2003) .....................................................................................7

 Jazz Pharm., Inc. v. Amneal Pharm., LLC,
    No. 13-0391 (ES) (JAD), 2017 WL 5128748 (D.N.J. Nov. 6, 2017) ......................................30

 Markman v. Westview Instruments, Inc.,
   52 F.3d 967 (Fed. Cir. 1995) (en banc), aff’d, 517 U.S. 370 (1996) .........................................2

 Marrin v. Griffin,
   599 F.3d 1290 (Fed. Cir. 2010)..........................................................................................6, 7, 9

 Med. Instrumentation & Diagnostics Corp. v. Elekta AB,
   344 F.3d 1205 (Fed. Cir. 2003)................................................................................................30

 O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co.,
    521 F.3d 1351 (Fed. Cir. 2008)................................................................................................19

 Phillips v. AWH Corp.,
    415 F.3d 1303 (Fed. Cir. 2005) (en banc)..............................................................................2, 3

 Pitney Bowes, Inc. v. Hewlett-Packard Co.,
     182 F.3d 1298 (Fed. Cir. 1990)..................................................................................................7

 Purdue Pharma L.P. v. Endo Pharm. Inc.,
    438 F.3d 1123 (Fed. Cir. 2006)................................................................................................10

 Sanofi-Aventis U.S. LLC v. Fresenius Kabi USA, LLC,
    No. 14-7869-MAS-LHG, 2016 WL 5898627 (D.N.J. Oct. 7, 2016) ...........................7, 8, 9, 10

 SkinMedica, Inc. v. Histogen Inc.,
     727 F.3d 1187 (Fed. Cir. 2013)................................................................................................13

 In re Suboxone (Buprenorphine HCl and Naloxone) Antitrust Litig.,
     MDL No. 2445, 13-MD-2445, 2017 WL 36371 (E.D. Pa. Jan. 4, 2017) ..................................1

 Takeda Pharm. Co. v. Actavis Labs FL, Inc.,
    No. 15-451-RGA, 2016 WL 3193188 (D. Del. June 6, 2016) .................................................11

 Williamson v. Citrix Online, LLC,
    792 F.3d 1339 (Fed. Cir. 2015)................................................................................................29

 Statutes

 37 C.F.R. § 1.115(a)(1) ....................................................................................................................9

 21 U.S.C. § 355-1 ............................................................................................................................1

 35 U.S.C. § 112 ..............................................................................................................................29

                                                                       iv
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 5 of 43 PageID: 9380



 35 U.S.C. § 112, ¶ 2 .......................................................................................................................30

 35 U.S.C. § 112, ¶ 6 .............................................................................................................2, 29, 30




                                                                       v
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 6 of 43 PageID: 9381




 TABLE OF ABBREVIATIONS


           Abbreviation                               Meaning
  ’262 patent               U.S. Patent No. 8,198,262 B2
  ’262 PH                   Prosecution history of the ’262 patent (Murray Declaration
                            Exhibit A)
  ’427 patent               U.S. Patent No. 8,828,427 B2
  ’427 PH                   Prosecution history of the ’428 patent (Murray Declaration
                            Exhibit D)
  ’428 patent               U.S. Patent No. 8,735,428 B2
  ’428 PH                   Prosecution history of the ’428 patent (Murray Declaration
                            Exhibit C)
  ’531 patent               U.S. Patent No. 8,626,531 B1
  ’720 patent               U.S. Patent No. 6,315,720 B1
  ’784 patent               U.S. Patent No. 6,755,784 B2
  ’886 patent               U.S. Patent No. 8,315,886 B2
  ’939 patent               U.S. Patent No. 8,673,939 B2
  ’939 PH                   Prosecution history of the ’939 patent (Murray Declaration
                            Exhibit B)
  ’977 patent               U.S. Patent No. 6,561,977 B2
  Apotex                    Defendants Apotex Inc. and Apotex Corp.
  Aurobindo                Defendants Aurobindo Pharma Limited, Aurobindo Pharma
                           USA, Inc., Aurolife Pharma LLC, and Eugia Pharma
                           Specialties Limited
  Breckenridge              Defendant Breckenridge Pharmaceutical, Inc.
  Defendants                Defendants Apotex, Aurobindo, Breckenridge, Hetero,
                            Mylan, and Teva
  Hetero                    Defendants Hetero Labs Limited, Hetero Labs Limited Unit-
                            V, Hetero Drugs Limited, and Hetero USA, Inc.
  FWD                       Final Written Decision (see 35 U.S.C. § 318(a))
  JCCS                      Joint Claim Construction and Prehearing Statement, ECF No.
                            211


                                         vi
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 7 of 43 PageID: 9382




  MOT                       Method of treatment
  MOT patents               ’262, ’939, and ’428 patents
  Mylan                     Mylan Pharmaceuticals Inc., Mylan Inc., and Mylan N.V.
  Park Decl.                Declaration of Kinam Park, Ph.D.
  PH                        Prosecution history
  POSA or skilled artisan   Person of Ordinary Skill in the Art
  PTAB                      Patent Trial and Appeal Board
  PTO                       United States Patent and Trademark Office
  REMS Defendants           Defendants Apotex, Aurobindo, Breckenridge, and Hetero
  REMS patents              ’720, ’977, ’784, ’886, and ’531 patents
  Teva                      Defendant Teva Pharmaceuticals USA, Inc.
  USP                       United States Pharmacopeia




                                         vii
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 8 of 43 PageID: 9383



        Pursuant to the Court’s Scheduling Order (ECF No. 123),1 Defendants’ respectfully submit

 the instant Opening Claim Construction Brief.

 I.     INTRODUCTION

        Three groups of patents are at issue in this case: (1) the ’262, ’939, and ’428 method of

 treatment patents (“the MOT patents”); (2) the ’427 formulation patent; and (3) ’720, ’977, ’784,

 ’886, and ’531 patents, which are directed to a restricted distribution program—also known as a

 Risk Evaluation and Mitigation Strategy (“REMS”) 2 – for certain drugs (“REMS patents”). The

 Parties respectfully request construction of two terms from the MOT patents (the claim

 “preambles” and “about 1 mg to about 5 mg per day”), one term from the ’427 formulation patent

 (“total weight of the composition”),3 and three groups of terms from the REMS patents (the

 “computer readable,” “prescription approval code,” and “generator” terms).

        With regard to the MOT patents, Defendants maintain that, in accordance with Federal

 Circuit precedent, the claim preambles are statements of purpose or intended use that do not limit

 the claims or require any efficacious result. For the “about 1 mg to about 5 mg per day” term of

 the MOT patents, Defendants seek a construction that the weight requirement applies to each

 recited form of the active ingredient (e.g., the salt, solvate, stereoisomer, or free base). Relatedly,

 with regard to the ’427 formulation patent, Defendants Teva, Mylan, Breckenridge, and Aurobindo

 seek a construction for the “total weight of the composition” term such that the recited “total


 1
   All “ECF No.” references are to the 17-cv-3387 docket unless otherwise specified.
 2
   See 21 U.S.C. § 355-1, which authorizes FDA to require a REMS for certain drugs if FDA
 determines that a REMS is necessary to ensure that the benefits of the drug outweigh its risks. In
 re Suboxone (Buprenorphine HCl and Naloxone) Antitrust Litig., MDL No. 2445, 13-MD-2445,
 2017 WL 36371, at *2 (E.D. Pa. Jan. 4, 2017).
 3
   The JCCS includes additional terms from the ’427 patent not argued in this brief (see D.I. 211 at
 12-15) because Celgene and Defendants Teva, Mylan, Breckenridge, and Aurobindo have since
 agreed by stipulation that those terms are no longer in dispute and that no construction is required
 for those terms. Apotex and Hetero have not joined in the stipulation and take no position with
 respect to any agreements reached therein.
                                                   1
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 9 of 43 PageID: 9384



 weight” applies to the active ingredient regardless of its form and therefore includes any counter

 ions and solvent molecules if present.

         With regard to the REMS patents, Celgene seeks a construction of the “computer readable”

 terms as requiring a “centralized” database, while the REMS Defendants do not believe these terms

 require construction; if they do, based on the intrinsic record and a prior construction by the PTO,

 they do not require a “centralized” database. For “prescription approval code,” Celgene seeks a

 limiting construction requiring that an “affirmative risk assessment” has been made, presumably

 to avoid Defendants’ prior art, while the REMS Defendants submit that the evidence of record

 compels a plain and ordinary meaning that does not require any “affirmative risk assessment.”

 Finally, as Celgene chose to describe what generates a “prescription approval code” by functional

 terms that invoke the strictures of 35 U.S.C. § 112, ¶ 6, but failed to clearly link or associate any

 structure described in the specification with the recited function, claims 1-20 of the ’531 patent are

 indefinite.

 II.     LEGAL STANDARDS

         “[T]he words of a claim are generally given their ordinary and customary meaning . . . to

 a person of ordinary skill in the art.” Phillips v. AWH Corp., 415 F.3d 1303, 1312-13 (Fed. Cir.

 2005) (en banc) (internal quotations omitted).        The claims “must be read in view of the

 specification, of which they are a part,” and the Court “should also consider the patent’s

 prosecution history.” Markman v. Westview Instruments, Inc., 52 F.3d 967, 979-80 (Fed. Cir.

 1995) (en banc), aff’d, 517 U.S. 370 (1996).          Absent the limited circumstances of either

 lexicography or disavowal, that ordinary meaning controls. GE Lighting Solutions, LLC v.

 AgiLight, Inc., 750 F.3d 1304, 1309 (Fed. Cir. 2014). The Court is permitted to rely on extrinsic

 evidence, including expert testimony and learned treatises, to determine a claim term’s plain

 meaning, although extrinsic evidence is “less significant than the intrinsic record in determining
                                                   2
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 10 of 43 PageID: 9385



  ‘the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317 (citation omitted).

  III.   LEVEL OF ORDINARY SKILL IN THE ART

         The person of ordinary skill in the art (“POSA” or “skilled artisan”) to whom the ’427

  patent is directed is a person involved in the research and development of pharmaceutical

  formulations and dosage forms, and would have a Ph.D. in a field related to “pharmaceutical

  sciences” (such as pharmaceutics, physical chemistry, medicinal chemistry, chemistry, chemical

  engineering, or biochemistry) and at least one year of experience in pharmaceutical formulation.

  The POSA to whom the MOT patents are directed would be a clinical or medical oncologist with

  several years of experience in cancer research, treatment, and/or clinical trials and, who could work

  with a team of individuals, including a person with an advanced degree in pharmaceutical sciences.

  The POSA with respect to the REMS patents includes health care providers, pharmacists and other

  persons having experience restricting the distribution of drugs with safety concerns.

         The qualifications for the POSA can be met by one person or a team of individuals, and

  the skilled artisan could have a lower level of formal education if that person has a higher degree

  of experience. Defendants’ expert Dr. Kinam Park meets and exceeds these criteria with respect

  to the ’427 formulation patent and with respect to the dosage and chemistry elements of the

  asserted MOT patent claims. Park Decl. ¶¶ 6-19.

  IV.    ARGUMENT

         A.      The MOT Patents (’262, ’939, and ’428 Patents)

         The asserted MOT patent claims are generally directed to methods of treating multiple

  myeloma—a cancer of the blood plasma cells—by cyclic administration of 1-5 mg of

  pomalidomide, an anti-cancer drug. ECF No. 1, Compl. Ex. A, ’262 patent 24:4-9, 38:17-40:22;

  id. at Ex. B, ’939 patent 38:65-40:57; id. at Ex. C, ’428 patent 39:2-40:47.



                                                   3
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 11 of 43 PageID: 9386



                   1.      The Preambles

              Claim Term                   Celgene’s Proposal              Defendants’ Proposal4
      “A method of treating           “A method for treating            “A method of treating
      multiple myeloma”5              multiple myeloma” is              multiple myeloma” is not
                                      limiting, such that the term      limiting
      ’262 patent claims 1-2, 4-16,   requires efficacy in treating
      18-27, 29; ’939 patent claims   multiple myeloma
      1-14, 16-35; ’428 patent
      claims 1-27


                           a.      The Preambles Are Non-Limiting

            The preamble is the language of a patent claim that precedes the transitional phrase; in the

  case of the asserted claims of the MOT patents, the language “[a] method of treating multiple

  myeloma” before the transitional phrase “which comprises.” Bicon, Inc. v. Straumann Co., 441

  F.3d 945, 949 (Fed. Cir. 2006). “Generally, [as the Federal Circuit] ha[s] said, the preamble does

  not limit the claims.” Am. Med. Sys., Inc. v. Biolitec, Inc., 618 F.3d 1354, 1358 (Fed. Cir. 2010)

  (internal quotes omitted) (“AMS”). “A preamble is not regarded as limiting, . . . , when the claim

  body describes a structurally complete invention such that deletion of the preamble phrase does

  not affect the structure or steps of the claimed invention.” Id. at 1358-59 (internal quotations

  omitted).

            Going against the general presumption, Celgene requests that this Court treat the preambles

  of the asserted MOT patent claims as limitations “requir[ing] efficacy in treating multiple

  myeloma.” ECF No. 211, JCCS Ex. A at 1. Celgene seeks such a limiting construction so that it


  4
    To conserve court and party resources, Apotex and Hetero hereby withdraw their proposed
  alternative construction for the preambles. See ECF No. 211, JCCS Ex. A at 5-7.
  5
    In the JCCS, the Parties inadvertently mis-described the asserted MOT patent claim preamble
  language as “[a] method for treating multiple myeloma.” Compare ECF No. 211, JCCS Ex. A at
  1, with ECF No. 1, Compl. Ex. A, ’262 patent 38:17-40:22; id. at Ex. B, ’939 patent 38:65-40:57;
  id. at Ex. C, ’428 patent 39:2-40:47. Defendants hereby correctly identify the asserted MOT patent
  claim preamble language as “[a] method of treating multiple myeloma.”
                                                     4
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 12 of 43 PageID: 9387



  may argue during the merits phase of this case, incorrectly, that Defendants’ prior art does not

  anticipate or render obvious the asserted MOT patent claims because the prior art allegedly did not

  disclose that administration of pomalidomide would be efficacious in treating multiple myeloma. 6

  Celgene’s attempt to secure a limiting construction of the preambles should be rejected, because

  (1) the plain language of the claims shows the preambles are nothing more than statements of

  purpose or intended use that do not recite essential structure or steps and that precede structurally

  complete methods; (2) the common specification7 of the MOT patents includes no clinical data

  establishing that the claimed methods are efficacious in treating multiple myeloma; and (3)

  Celgene did not clearly rely on the preambles to establish patentability for its claims.

                                 i.     The Preamble Language Supports Defendants’ Position

         Each of the asserted MOT patent claims begins with the preamble “[a] method of treating

  multiple myeloma,” followed by the transitional phrase “which comprises,” and then includes a

  body that sets out the specific claimed method, with all of the steps required to be carried out for

  the claimed method. ECF No. 1, Compl. Ex. A, ’262 patent 38:17-40:22; id. at Ex. B, ’939 patent

  38:65-40:57; id. at Ex. C, ’428 patent 39:2-40:47. The body and claim elements (or steps) of each

  asserted MOT claim do not rely on the preamble, whether for definition or antecedent basis. Id.

  The “method [is] performed in the same way regardless [of] whether or not the patient

  experiences” an efficacious result. Bristol-Myers Squibb Co. v. Ben Venue Labs., Ltd., 246 F.3d

  1368, 1375 (Fed. Cir. 2001) (“BMS”). While the term “multiple myeloma” is used in both the

  body of the claims and in the preamble, the reference in the body—used to specify the patient to

  whom pomalidomide is administered according to the claimed method—does not in any way rely


  6
    Defendants believe that the prior art did in fact disclose that pomalidomide would be effective in
  treating multiple myeloma.
  7
    The MOT patents share a common specification. ECF No. 211, JCCS Ex A at 2 n.5.
                                                   5
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 13 of 43 PageID: 9388



  on the reference to multiple myeloma in the preamble. Id. “[T]he mere fact that a . . . term in the

  preamble is part of the claim does not mean that the preamble’s statement of purpose or other

  description is also part of the claim.” Marrin v. Griffin, 599 F.3d 1290, 1295 (Fed. Cir. 2010).

         “If the preamble is reasonably susceptible to being construed to be merely duplicative of

  the limitations in the body of the claim (and was not clearly added to overcome a [prior art]

  rejection), [the Federal Circuit] do[es] not construe it to be a separate limitation.” AMS, 618 F.3d

  at 1359. As explained below, the preambles of the asserted MOT patent claims were not added in

  response to prior art rejections by the Patent Office, or in any way relied upon by Celgene to

  overcome prior art rejections. “A method of treating multiple myeloma” is merely a statement of

  intended use, and the reference to “multiple myeloma” in the preamble is duplicative of the

  reference in the body of the claim. “Removal of the duplicative preamble language would neither

  alter the scope of the claims nor introduce ambiguity as to their coverage.” Id. at 1360.

         AMS is on point. There, the method claim preamble language recited “[a] method of

  photoselective vaporization of tissue,” which was followed by the transitional phrase

  “comprising,” which led into the body of the claims that recited a complete method, including the

  step of “delivering laser radiation to the tissue.” Id. at 1356. Finding that the preamble merely

  gave a descriptive name to the set of limitations in the body of the claim, which contained “all of

  the steps necessary to practice the invention,” the Federal Circuit found the preamble language

  non-limiting. Id. at 1359-60. In doing so, the Federal Circuit rejected the argument that the

  “tissue” reference in the preamble provided necessary antecedent basis to the term “the tissue” in

  the body of the claims, finding that the preamble reference “does not specify a particular type or

  locations of tissue being treated.” Id. at 1359. Similarly, here, the “multiple myeloma” recitation

  in the preamble provides no meaningful antecedent basis to the recitation of “multiple myeloma”



                                                   6
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 14 of 43 PageID: 9389



  in the body of the claims, which specifies the patient to whom medication is being administered.

  Pitney Bowes, Inc. v. Hewlett-Packard Co., 182 F.3d 1298, 1305 (Fed. Cir. 1990) (If the preamble

  offers no distinct definition of any of the claimed invention’s limitations, then it cannot be said to

  constitute or explain a claim limitation.); Marrin, 599 F.3d at 1295 (identifying cases in which

  preamble was found non-limiting where term in preamble was also recited in the body); ICN

  Pharm., Inc. v. Geneva Pharm. Tech. Corp., 272 F. Supp. 2d 1028, 1044-45 (C.D. Cal. 2003).

         This Court has previously ruled that preamble language in the context of prostate cancer

  method of treatment claims similar to the MOT patent preambles in the instant case is not limiting,

  and does not require efficacy. In Sanofi-Aventis U.S. LLC v. Fresenius Kabi USA, LLC, No. 14-

  7869-MAS-LHG (consolidated), 2016 WL 5898627 (D.N.J. Oct. 7, 2016), the preambles of two

  independent claims of a method patent recited “[a] method for treating a patient with prostate

  cancer that has progressed during or after treatment with docetaxel” (claim 1) and a “method of

  increasing the survival of a patient with a castration resistant or hormone refractory, metastatic

  prostate cancer that has progressed during or after treatment with docetaxel” (claim 27). Sanofi-

  Aventis, 2016 WL 5898627, at *4. The parties agreed that the portions of the claim 1 and 27

  preambles after “[a] method for treating” and “[a] method of increasing the survival” were

  limiting. However, the brand patent owner Sanofi also argued that the “[a] method for treating”

  and “[a] method of increasing the survival” portions of the preambles were also limitations

  requiring efficacy. Id. at *5-6. This Court agreed with the generic drug defendants that the

  contested portions of the preambles were merely statements of intended use that did not “recite an

  essential structure or step,” and that the steps of the claimed methods were performed the same

  way and did not require an efficacious result. Id. at *4-5. The preamble language and overall

  claim structure of the instant asserted MOT patent claims are very similar to the method claim



                                                    7
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 15 of 43 PageID: 9390



  preambles and claim structures at issue in Sanofi-Aventis, and warrant a similar treatment.

                                 ii.    The Specification Supports Defendants’ Position

          Celgene seeks limiting constructions for the preambles of the asserted MOT patent claims

  so that it may argue during the merits phase of this case that its MOT patents are not invalid

  because the prior art relied on by Defendants for their anticipation and obviousness defenses does

  not disclose that pomalidomide would be effective in treating multiple myeloma. But Celgene

  intends to demand more from the prior art than the evidence it provided in support of its own

  claims, which is contrary to law. See Hoffmann-La Roche Inc. v. Apotex Inc., 748 F.3d 1326, 1331

  (Fed.   Cir. 2014).    Specifically, there is no evidence in the common specification that

  pomalidomide is efficacious in treating patients with multiple myeloma.               The common

  specification contains absolutely no clinical efficacy data for pomalidomide. Thus, the preambles

  should not be construed to require that the claimed methods be efficacious when Celgene never

  supported its claims with efficacy data in patients for pomalidomide. 8

          Beyond the lack of efficacy data for pomalidomide, the common specification includes

  additional information supportive of Defendants’ position. Specifically, the common specification

  states that “[a]s used herein, unless otherwise specified, the term ‘treating’ refers to the

  administration of a compound of the invention or other additional active agent after the onset of

  symptoms of the particular disease or disorder.” ECF No. 1, Compl. Ex. A, ’262 patent 16:11-15.


  8
    Even if the common specification contained such clinical efficacy data, that would not be
  dispositive of whether the preambles should be construed as limitations requiring efficacy. The
  method patent construed in Sanofi-Aventis itself contained Phase III human clinical trial data
  establishing that cabazitaxel and prednisone were effective for treating docetaxel-resistant prostate
  cancer. Sanofi-Aventis, 2016 WL 5898627, at *4-6; Sanofi-Aventis U.S. LLC v. Fresenius Kabi
  USA, LLC, No. 14-cv-7869-MAS-LHG, ECF No. 58-8, Decl. of Roger J. Kiley Ex. 3, U.S. Patent
  No. 8,927,592 B2 at 10:28-17:34 (Example 1) (D.N.J. Dec. 3, 2015); id. at ECF No. 328, Redacted
  Opinion at 61-62, 75-76 (April 25, 2018). Nevertheless, this Court refused to construe the
  preambles of the corresponding method claims as limitations requiring efficacy.
                                                   8
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 16 of 43 PageID: 9391



  This language—definitional in nature—does not require that “treating” be effective, and suggests

  that “[a] method of treating” requires nothing more than the administration of the medications

  recited in the method steps of the asserted MOT patent claims.

                                 iii.   There Was No “Clear Reliance” on the Preambles
                                        During Prosecution.

          “Clear reliance on a preamble during prosecution can distinguish a claimed invention from

  the prior art and render the preamble a claim limitation.” Marrin, 599 F.3d at 1294. “Clear

  reliance” generally requires that the preamble be “added to overcome a prior art rejection.” AMS,

  618 F.3d at 1359 (internal brackets omitted); Sanofi-Aventis, 2016 WL 5898627, at *4 (“clear[]

  and unmistakeabl[e] reli[ance]” during prosecution required to turn an otherwise non-limiting

  preamble into a limitation (internal quotations omitted)). The applicants for the MOT patents

  never relied on the preambles to distinguish the prior art. First, for each of the three MOT patents,

  the preambles were part of the original application claims submitted to the Patent Office for

  examination, and, thus, were not added to overcome prior art rejections. 9 AMS, 618 F.3d at 1359

  (no clear reliance where there was no suggestion preamble language was added to overcome prior

  art rejections).

          Second, while the MOT patent applicants made certain arguments to the Patent Office

  regarding efficacy in response to prior art rejections, those arguments bore no relation to the

  preamble language of the asserted MOT patent claims. As a first example, in discussing the prior


  9
    See Murray Decl. Ex. A, ’262 PH, Aug. 19, 2008 Original Appl. at 52-57 (CELPOM00000147-
  150); id. at Aug. 19, 2008 Prelim. Amendment at 1-7 (CELPOM00000157-167); Murray Decl.
  Ex. B, ’939 PH, Mar. 1, 2013 Original Appl. At 52-57 (CELPOM00000903-08); id. at Mar. 1,
  2013 Prelim. Amendment at 1-8 (CELPOM00000946-953); Murray Decl. Ex. C, ’428 PH, Mar.
  1, 2013 Original Appl. at 52-57 (CELPOM00001204-09); id. at Mar. 1, 2013 Prelim. Amendment
  at 1-7 (CELPOM00001258-264); see also, 37 C.F.R. § 1.115(a)(1) (“A preliminary amendment
  that is present on the filing date of an application is part of the original disclosure of the
  application.”); Harari v. Hollmer, 602 F.3d 1348, 1351-53 (Fed. Cir. 2010).
                                                   9
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 17 of 43 PageID: 9392



  art asserted by the Patent Office in connection with an obviousness rejection, the applicants argued

  that “there is no suggestion in the cited art that pomalidomide is effective to treat multiple

  myeloma.”10 This statement, however, is a characterization of the prior art, and was part of the

  applicants’ argument about whether there would have been a reasonable expectation of success in

  using pomalidomide to treat multiple myeloma. The statement did not in any way “distinguish the

  patented invention from the prior art based on the [preamble language],” and therefore does not

  transform the preamble into a limitation. Georgetown Rail Equip. Co. v. Holland L.P., 867 F.3d

  1229, 1238 (Fed. Cir. 2017).      As was the case in Sanofi-Aventis, the MOT patent applicants’

  arguments regarding whether the prior art provided a reasonable expectation of success in using

  pomalidomide to treat multiple myeloma does not amount to a “clear[] disclaime[r] or disavow[al]

  [of] the claimed invention when it does not produce . . . efficacious results.” Sanofi-Aventis, 2016

  WL 5898627, at *6; see also Purdue Pharma L.P. v. Endo Pharm. Inc., 438 F.3d 1123, 1136 (Fed.

  Cir. 2006) (“Under the doctrine of prosecution disclaimer, a patentee may limit the meaning of a

  claim term by making a clear and unmistakable disavowal of scope during prosecution.”).

         As a second example, in response to the Patent Office’s obviousness rejection, the

  applicants argued that certain literature submitted to the Office was evidence of “unexpected

  results” showing that “the pomalidomide/dexamethasone regimen is significantly active in

  refractory myeloma.”11 Again, these arguments were in no way tied to the preambles. At least

  one sister district in this Circuit has recognized that there is a difference between clear reliance on

  a preamble to overcome a prior art rejection and “touting the unexpected results of all claimed




  10
     See, e.g., Murray Decl. Ex. A, ’262 PH, Dec. 20, 2011 Amendment and Resp. at 6
  (CELPOM00000303).
  11
     See, e.g., Murray Decl. Ex. A, ’262 PH, Dec. 20, 2011 Amendment and Resp. at 10
  (CELPOM00000307)
                                                    10
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 18 of 43 PageID: 9393



  methods as a secondary consideration of nonobviousness during prosecution,” the latter being

  insufficient to convert a claim preamble into a limitation. Takeda Pharm. Co. v. Actavis Labs FL,

  Inc., No. 15-451-RGA, 2016 WL 3193188, at *8 n.8 (D. Del. June 6, 2016) (“The patentee’s broad,

  consistent references to the entire ’195 patent’s unexpected results during prosecution do not

  provide adequate grounds to conclude that it relied upon the preamble of claim 11 to overcome the

  examiner’s specific rejection of claim 11.”).

         Ultimately, the application claims of the ’262 patent were allowed after amendments to

  require cyclical administration of pomalidomide and dexamethasone, and the application claims

  of the ’939 and ’428 patents were allowed after amendments to specify that the multiple myeloma

  treated is relapsed or refractory (or both), and submission of a supporting declaration alleging that

  treatment of relapsed or refractory multiple myeloma with pomalidomide was an unexpected

  result.12 None of these amendments involved the preambles or a disavowal/disclaimer of the

  invention when efficacious treatment is not achieved.          See Catalina Mktg. Int’l, Inc. v.

  Coolsavings.com, Inc., 289 F.3d 801, 810 (Fed. Cir. 2002) (although the applicants mentioned the

  preamble during prosecution, claim amendments to distinguish the prior art were only made to the

  claim body and were thus insufficient to convert the preambles into limitations).

         Thus, there was never any reliance on the preambles of the asserted MOT patent claims

  during prosecution to overcome the prior art. Because the preambles are nothing more than

  statements of intended use, this Court should hold that they are not limitations.




  12
     Murray Decl. Ex. A, ’262 PH, Mar. 15, 2012 Resp. and Statement of Interview Summary at 1-
  6 (CELPOM00000337-342); Murray Decl. Ex. B, ’939 PH, Oct. 8, 2013 Resp. at 1-7
  (CELPOM00001068-074); id. at Oct. 3, 2013 Decl. of A. Thakurta at 1-3 (CELPOM00001082-
  84); Murray Decl. Ex. C, ’428 PH, Oct. 9, 2013 Resp. at 1-6 (CELPOM00001370-75); id. at Oct.
  3, 2013 Decl. of A. Thakurta at 1-3 (CELPOM00001383-385).
                                                   11
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 19 of 43 PageID: 9394



                 2.      “about 1 mg to about 5 mg per day ….”

            Claim Term                   Celgene’s Proposal               Defendants’ Proposal
   “about 1 mg to about 5 mg        “about 1 mg to about 5 mg         “about 1 mg to 5 mg . . . of a
   per day of a compound            per day of a compound             compound having the
   having the formula [of           having the formula [of            formula [ ] or about 1 mg to 5
   pomalidomide] or a               pomalidomide] or a                mg of a pharmaceutically
   pharmaceutically acceptable      pharmaceutically acceptable       acceptable salt or solvate of [
   salt, solvate, or stereoisomer   salt, solvate, or stereoisomer    ] or about 1 mg to 5 mg of
   thereof”                         containing about 1 mg to          any single stereoisomer of [
                                    about 5 mg per day of a           ]”
   ʼ262 patent claim 1-2, 4-16,     compound having the
   18-27, 29; ʼ939 patent claim     formula [of pomalidomide]”
   1-14, 16-25; ʼ428 patent
   claim 1-21
   “about 1 mg to about 5 mg of     “about 1 mg to about 5 mg         “about 1 mg to 5 mg . . . of a
   a compound having the            per day of a compound             compound having the
   formula [of pomalidomide] or     having the formula [of            formula [ ] or about 1 mg to 5
   a solvate thereof”               pomalidomide] or a solvate        mg of a solvate of [ ]”
                                    containing about 1 mg to
   ʼ939 patent claim 26-35; ʼ428    about 5 mg per day of a
   patent claim 22-27               compound having the
                                    formula [of pomalidomide]”

         The MOT patents broadly claim the type of active ingredient that can be used in the claimed

  methods of treatment. Defendants’ proposed constructions merely follow the language of the

  claims by stating that the “about 1 mg to about 5 mg” weight limitation applies to the alternative

  forms of the administered drug (i.e., pomalidomide compound, a pharmaceutically acceptable salt

  or solvate of pomalidomide, or any single stereoisomer of pomalidomide). The Court should adopt

  Defendants’ proposed construction of these terms because they are supported by the record

  evidence, while Celgene’s proposed construction contradicts the clear language of the claims.

         The MOT patents consistently describe the invention as treatment with an active ingredient

  that may take several different forms, either as the pomalidomide compound on its own (i.e., in a

  so-called “free base” form) (Park Decl. ¶¶ 36, 40) or as a pharmaceutically acceptable salt, solvate,

  stereoisomer, or other form thereof. ECF No. 1, Compl. Ex. A, ’262 patent at 4:13-18; 4:53-60,

                                                   12
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 20 of 43 PageID: 9395



  5:14-28, 7:20-40, 8:45-63, 18:5-11, 23:20-25, 24:62- 25:3, 30:44-47. The skilled artisan reviewing

  the pertinent language of the specification, which is similar to that of the claims, would have

  understood the patentee to have used the word “or” to identify different, alternative forms for the

  active ingredient. SkinMedica, Inc. v. Histogen Inc., 727 F.3d 1187, 1199–200 (Fed. Cir. 2013)

  (“The disjunctive ‘or’ plainly designates that a series describes alternatives.” (citing Kustom

  Signals, Inc. v. Applies Concepts, Inc., 264 F.3d 1326, 1331 (Fed. Cir. 2001) (explaining that “or”

  designates alternatives))). As such, the POSA would also have understood the claimed weight

  requirement (i.e., “about 1 mg to about 5 mg”) to apply to each of these alternatives. Park Decl.

  ¶¶ 50-53, 56–61.

         This distinction is important because, for example, 1 mg of these different forms will

  contain different amounts of the basic pomalidomide.           For instance, when the form of

  pomalidomide is as a “pharmaceutically acceptable salt,” the 1 mg weight includes not only the

  weight of the pomalidomide moiety but also the weight of the proton and counterion of the “non-

  toxic acid ... addition salts.” Thus, the pomalidomide moiety is less than 1 mg. By contrast, 1 mg

  of the free base form of pomalidomide would have 1 mg of the pomalidomide moiety.        ECF No.

  1, Compl. Ex. A, ’262 Patent at 9:57–10:12; Park Decl. ¶¶ 40–43. A POSA would have understood

  that the “addition salts” described by the specification comprise additional chemical elements,

  such as chlorine and hydrogen, each of which have their own molecular weight. Park Decl. at

  ¶¶ 42–43. Similarly, for the recited “solvates,” a POSA would have understood that the additional

  bound solvent would have its own molecular weight to account for the additional molecules

  present (e.g., H2O, would be present if the solvent was water). Id. ¶¶ 44–45. Thus, the claims are

  directed to treatment with different doses of pomalidomide depending on whether the claimed

  weight requirement applies to the active ingredient as a whole (which can be a salt or solvate)—



                                                  13
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 21 of 43 PageID: 9396



  as Defendants propose—or to only the pomalidomide portion—as Celgene appears to propose.

         The intrinsic and extrinsic evidence confirm Defendants’ proposed construction. For

  example, the specification states:

         [T]he amounts and specific types of active ingredients in a dosage form may differ
         depending on factors such as, but not limited to, the route by which it is to be
         administered to patients. However, typical dosage forms of the invention comprise
         an immunomodulatory compound of the invention or a pharmaceutically
         acceptable salt, solvate, hydrate, stereoisomer, clathrate, or prodrug thereof in an
         amount of from about 0.10 to about 150 mg. Typical dosage forms comprise an
         immunomodulatory compound of the invention or a pharmaceutically acceptable
         salt, solvate, hydrate, stereoisomer, clathrate, or prodrug thereof in an amount of
         about 0.1, 1, 2, 5, 7.5, 10, 12.5, 15, 17.5, 20, 25, 50, 100, 150 or 200 mg.

  ’262 Patent at 26:48–56 (emphasis added). The POSA reading this passage would have understood

  that the amount of any of the listed forms of the active ingredient could be an amount between

  about 0.10 to about 150 mg, or any of the specified amounts between 0.1 and 200 mg. See Park

  Decl. ¶¶ 57–58. In particular, it is the pharmaceutically acceptable salt, solvate, or stereoisomer

  that is described here as being “in an amount of about …”—when the active ingredient is not the

  pomalidomide compound alone. A POSA, reading the claims in light of the specification, would

  have understood that the term “about 1 mg to 5 mg” applies to the weight of the entirety of the

  molecule present. Id.

         As Dr. Park explains in his declaration, Defendants’ construction is also consistent with

  the standard practice in the field when active ingredients are administered as a salt or solvate. Park

  Decl. ¶¶ 59–61. For example, Pharmaceutical Calculations (H. Ansel, 13th. Ed. 2010 & 11th Ed.

  2001) specifies that pharmacists should calculate the amount of “active drug moiety” (i.e., the

  molecule responsible for the physiological effect, here pomalidomide itself) in a given composition

  by “taking into account the molecular composition of the substance.” Park Decl. Ex. 7 (2010

  Ansel) at 328; id. Ex. 8 (2001 Ansel) at 256. Similarly, the United States Pharmacopeia provides

  that “[c]alculations must account for the active ingredient, or active moiety, and water content of
                                                   14
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 22 of 43 PageID: 9397



  drug substances, which includes that in the chemical formulas of hydrates,” or, in the case of a

  salt, “calculated on the basis of the required quantity of the pharmacological moiety.” Park Decl.

  Ex. 9 (2008 USP) at 627; see also id. Ex. 10 (2000 USP). Such guidance is consistent with a

  POSA’s understanding that the weight of an active ingredient must account for the specific form

  of the drug, and include any counter ions or solvent molecules. Park Decl. ¶¶ 59-61. For this

  additional reason, the POSA reading the MOT patents would have understood that the claims

  specify the absolute weight (i.e., “about 1 mg to 5 mg”) of whichever pomalidomide form present.

         With respect to the first form of the administered drug recited in the claims (i.e., a

  compound having the formula [of pomalidomide]), the POSA would have understood this to refer

  to a mixture of stereoisomers, since these claims depict a chemical structure without indicating its

  stereochemistry. ECF No. 1, Compl. Ex. A, ’262 Patent at 11:40-46 (“[I]f the stereochemistry of

  a structure or a portion of a structure is not indicated with, for example, bold or dashed lines, the

  structure is to be interpreted as encompassing all stereoisomers of it.”); Park Decl. ¶¶ 36-39, 54–

  55. This understanding would have informed the POSA as to the intended meaning of the

  stereoisomer portion of the claim (i.e., “about 1 mg to about 5 mg of … a … stereoisomer thereof”).

  Although the article “a” can be construed as “one or more,” such a construction would be

  redundant here, as the claim already includes combinations of stereoisomers. See Harari v. Lee,

  656 F.3d 1331, 1341 (Fed. Cir. 2011). Thus, the POSA would have understood this portion of the

  claim to refer to “about 1 mg to 5 mg of any single stereoisomer.” See Amgen Inc. v. Hospira,

  Inc., Civil Action No. 15–839–RGA, 2016 WL 7013483, at *2 (D. Del. 2016) (construing “an

  isolated … isoform” as limited to a mixture of a single isoform because a construction allowing

  “for mixtures of at least one isoform” “would render the word ‘isolated’ superfluous” (emphasis

  added)); see also Azko Nobel Coatings, Inc. v. Dow Chem. Co., 811 F.3d 1334, 1340 (Fed. Cir.



                                                   15
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 23 of 43 PageID: 9398



  2016) (citing Merck & Co. v. Teva Pharm. USA, Inc., 395 F.3d 1364, 1372 (Fed. Cir. 2005) (“A

  claim construction that gives meaning to all the terms of the claim is preferred over one that does

  not do so.”); Power Mosfet Techs., L.L.C. v. Siemens AG, 378 F.3d 1396, 1410 (Fed. Cir. 2004)

  (“[I]nterpretations that render some portion of the claim language superfluous are disfavored.”)).

  This distinction is non-trivial because the functions of a particular compound (e.g., its stability or

  therapeutic effectiveness) can depend on the particular stereoisomer. Park Decl. ¶¶ 54-55.

         Accordingly, the Court should adopt Defendants’ proposed constructions of these terms,

  which are consistent with the evidence and the clear meaning of the claims.

         B.      The ’427 Formulation Patent13

                 1.       “Total Weight Of The Composition”

            Claim Term                    Celgene’s Proposal              Defendants’ Proposal14
   “total weight of the              No construction required.         “total weight of the
   composition”                                                        composition including the
                                                                       weights of counter ions and
   ʼ427 patent claims 3-10                                             solvent molecules, if present”

         Claims 3-10 of the ’427 patent are directed to oral dosage forms in the form of a capsule,

  and each claim recites specific amounts of “100% pure pomalidomide,” “pregelatinized starch,”

  and “sodium stearyl fumarate,” as well as a specific “total weight of the composition.” Although

  each claimed capsule requires “spray dried mannitol,” the amount of mannitol required is whatever

  brings the formulation up to the “total weight” after all other ingredients are accounted for (i.e.,




  13
     Teva, Breckenridge, and the Mylan Defendants have been sued in this Court (Case Nos. 2:18-
  cv-14366, 2:18-cv-13715, and 2:18-cv-16035) by Celgene pursuant to the same ANDA filings that
  are at issue in these coordinated actions asserting a patent having the same specification as the
  ’427 Patent. These defendants believe judicial resources will be conserved if that case is
  coordinated with the present case.
  14
      Defendants Teva, the Mylan Defendants, Breckenridge, and Aurobindo propose this
  construction. See D.I. 211, JCCS at 15–17.
                                                   16
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 24 of 43 PageID: 9399



  “spray dried mannitol at an amount that brings the total weight of the composition to 125 mg”).

         Similar to the claims of the MOT patents discussed above, the claims of the ’427 patent

  include multiple, alternative forms for the active ingredient pomalidomide (i.e., “pomalidomide,

  or a pharmaceutically acceptable salt or solvate thereof”). Unlike the claims of the MOT patents,

  however, the ’427 patent’s claims explicitly identify the amount of pure pomalidomide to be found

  in the claimed capsule (i.e., “[x] mg of 100% pure pomalidomide”). ECF No. 1, Compl. Ex. D,

  ’427 patent at 2:39-3:3. Thus, whatever the form of the pomalidomide in the capsule (e.g., whether

  a salt, solvate, or free base), that weight is adjusted so as to provide the equivalent of [x] mg of

  100% pure pomalidomide not including the salt or solvate weight.

         As explained above in Section IV.A.2, the POSA would have understood that, when a

  compound is in the form of a “pharmaceutically acceptable salt or solvate,” the presence of counter

  ions and solvent molecules increases the molecular weight over that of the compound alone. Park

  Decl. ¶¶ 40–45; see also, ECF No. 1, Compl. Ex. D, ’427 patent 2:39-64 (defining

  “pharmaceutically acceptable salt” as including “salts of acidic or basic moieties of thalidomide”);

  id. at 2:65-3:3 (defining “solvate” as including an “amount of solvent” that is bound to the

  compound). This increased weight when the active ingredient is in the form of a “pharmaceutically

  acceptable salt or solvate” is accounted for in the claimed capsules by reducing the amount of

  mannitol necessary to get to the claimed “total weight.” Park Decl. ¶¶ 63-67. Likewise, these

  “comprising” claims are open-ended and can include additional excipients other than the recited

  starch, mannitol, and fumarate. In other words, the mannitol amount would decrease when counter

  ions and solvent molecules are present, or if additional unrecited excipients are present, so that the

  capsule may still contain 1 mg of 100% pure pomalidomide and a total weight of 125 mg. Id.

  Thus, the “total weight of the composition” should be defined as “including the weights of counter



                                                   17
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 25 of 43 PageID: 9400



  ions and solvent molecules” when the pomalidomide compound is in the form of a salt or solvate.

         This understanding of the claims is supported by the intrinsic record. The specification of

  the ’427 patent explicitly describes this situation where the weight of the active ingredient form is

  greater than the weight of the pomalidomide itself:

         In some embodiments, because it is typical to obtain pomalidomide, or a
         pharmaceutically acceptable stereoisomer, prodrug, salt, solvate, or clathrate
         thereof, at a purity of less than 100%, the formulations and dosage forms provided
         herein may be defined as compositions, formulations, or dosage forms that
         comprise pomalidomide, or a pharmaceutically acceptable stereoisomer, prodrug,
         salt, solvate, or clathrate thereof, at an amount that provides the potency of a
         specified amount of 100% pure pomalidomide.

  ECF No. 1, Compl. Ex. D, ’427 patent at 7:26-34 (emphasis added); see also, id. at Examples 1-6

  (indicating weight for pomalidomide “corresponds to the amount that provides the potency of [x]

  mg of pomalidomide”). This passage explains that, even when the obtained form of pomalidomide

  is a salt, solvate, or otherwise less than 100% pure, the formulation will include more of the

  pomalidomide in order to reach the equivalent of the specified amount of 100% pure

  pomalidomide. See also Park Decl. ¶¶ 64-66.

         Although the language in this passage is not exactly the same as in the claims, this passage

  was relied on by the Applicants during prosecution to explain the meaning of the pomalidomide

  limitation. Park Decl. ¶¶ 31–32, 64–65. In fact, the claims as originally submitted to the Patent

  Office each required a particular “potency” of pomalidomide. Id. ¶¶ 30–31 (showing original

  claims to recite “[x] mg potency of pomalidomide”).          The Examiner rejected the claims as

  indefinite because of this language and the Applicants repeatedly argued that the limitation was

  clear because it referred to the amount of 100% pure pomalidomide. Id. ¶¶ 31–34, 64–65. For

  example, the Applicants argued:

         [A]s those skilled in the art would clearly understand from this language, the claim
         contemplates that pomalidomide, or a pharmaceutically acceptable salt or solvate,
         would be contained in the claimed formulation in an amount that would provide the
                                                   18
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 26 of 43 PageID: 9401



         same potency as X mg of pomalidomide free base. In other words, the “mg” unit
         recited by the claims does not refer to the actual potency of the active ingredient,
         but instead refers to the amount of pomalidomide free base that would provide the
         required potency.

  Murray Decl. Ex. D. ’427 PH, Feb. 12, 2013 Amendment and Resp. at 7-8 (CELPOM00001823–

  24). Thus, the POSA would have understood from the arguments made in the prosecution history,

  as well as from the subsequent amendments to the claims to recite “100% pure” instead of

  “potency,” that the weight of the pomalidomide API would be adjusted in order to ensure that the

  capsule included the equivalent of the specified amount of 100% pure pomalidomide. Park Decl.

  ¶¶ 30-35, 63-67. If a salt or solvate was used, the “total weight of the composition” would then

  account for the additional counter ions and solvent molecules. Id.

         Defendants’ construction is also consistent with the extrinsic evidence, which is also

  discussed above in Section IV.A.2 and provides that the calculation of weight must account for

  the specific form of the active ingredient. See also Park Decl. Ex. 7 (2010 Ansel) at 328; id. Ex.

  8 (2001 Ansel) at 256; id. Ex. 9 (2008 USP) at 627; id. Ex. 10 (2000 USP). With respect to the

  ’427 patent’s claims, the “total weight of the composition” must account for the specific form of

  pomalidomide present in the capsule, and thus, would include counter ions (in the case of a

  pomalidomide salt) and solvent molecules (in the case of a pomalidomide solvent). Id. ¶¶ 63, 67-

  70; see also Section IV.A.2.

         Defendants’ proposed construction provides the plain and ordinary meaning of this term,

  consistent with the intrinsic and extrinsic evidence.        As Celgene provides no alterative

  construction, the Court should adopt Defendants’ proposal. See O2 Micro Int’l Ltd. v. Beyond

  Innovation Tech. Co., 521 F.3d 1351, 1361 (Fed. Cir. 2008)




                                                 19
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 27 of 43 PageID: 9402



           C.     The REMS Patents15

                  1.     The “Computer Readable” Terms

           I.    Claim Term                Celgene’s Proposal             Defendants’ Proposal
   “computer readable storage           “a centralized database that   No construction necessary,
   medium”                              includes all registration      but if construed, should be
                                        information regarding the      construed to have its plain
   ʼ720 patent claims 1-21, 23-32;      claimed prescribers,           and ordinary meaning, which
   ʼ977 patent claims 1-23, 25-34;      pharmacies, and patients”      is “computer readable storage
   ʼ784 patent claims 1-23, 25-34;                                     medium, which may or may
   ʼ886 patent claims 1-7                                              not be centralized” or
                                                                       “computer readable medium,
       *         *         *                                           which may or may not be
                                                                       centralized”
   “computer readable medium”

   ʼ531 patent claims 1-40

           The asserted claims of the ’720, ’977, ’784 and ’886 patents require a “computer readable

  storage medium,” while the asserted claims of the ’531 patent require a “computer readable

  medium.” The REMS Defendants contend these terms need not be construed, but that if they are

  construed, they should be construed as requiring a medium that may or not be centralized. Celgene

  contends that the disputed terms should be construed to require “a centralized database that

  includes all registration information regarding the claimed prescribers, pharmacies and patients.”

  The evidence demonstrates that the REMS Defendants are correct, including an IPR proceeding

  involving Celgene’s closely-related U.S. Patent No. 6,045,501 (“the ’501 patent”), where the

  PTAB concluded that the term “computer readable storage medium” in the claims of the ’501

  patent did not require construction, but that if it was construed, it should not be construed as

  requiring a “centralized” database.




  15
    These patents are not asserted against Teva or the Mylan Defendants, and those defendants take
  no position on any of the proposed terms for construction.
                                                   20
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 28 of 43 PageID: 9403



                         a.     These Terms Do Not Require Construction

         These terms do not need construction. The common specification of the REMS patents

  indicates that the term “computer readable storage medium” is a common term familiar to those

  of ordinary skill in the art (ECF No. 26-1, Hetero Answer Ex. A, ’720 patent 5:11-16), and does

  not define that term or indicate that any deviation from its plain and ordinary meaning is

  appropriate. And, as noted above, the PTAB found that the term “computer readable storage

  medium” from the closely-related ’501 patent did not need construction. As such, the REMS

  Defendants submit that no construction is necessary. See also Audatex N. Am., v. Mitchell Int’l,

  Inc., No. 13-cv-1523-BEN (BLM), 2014 WL 5800959, *5-6 (S.D. Cal. Nov. 6, 2014) (holding that

  no construction was necessary for “computer readable storage medium” as found in the claims of

  another patent).

                         b.     If Construed, They Should Be Construed as Requiring a
                                Medium That May or May Not Be Centralized

         The evidence demonstrates that the terms “computer readable storage medium” and

  “computer readable medium” do not require a “centralized database” (i.e., a single database) that

  “includes all registration information regarding the claimed prescribers, pharmacies, and patients.”

  For one thing, the common specification of the REMS patents indicates that prescriber, patient,

  and pharmacy information may all be stored in the same computer readable storage medium, or

  that such information may be stored in separate computer readable storage media. Specifically,

  after indicating that prescriber registration information may be stored in a computer readable

  storage medium (ECF No. 26-1, Hetero Answer Ex. A, ’720 patent 5:5-16), the specification

  indicates that pharmacy registration information is preferably also entered into a “computer

  readable storage medium,” and that that computer readable storage medium “may be the same as,

  or different from the computer readable storage medium in which the prescribers are registered”

                                                  21
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 29 of 43 PageID: 9404



  (id. at 5:17-23 (emphasis added)). The specification then indicates that patient registration

  information is preferably stored in a computer readable storage medium, and that computer

  readable storage medium “may be the same as, or different from the computer readable storage

  medium in which the prescriber and/or pharmacy are registered.” Id. at 5:60-67 (emphasis added).

  The specification thus explicitly uses the term “computer readable storage medium” to refer to a

  medium in which (1) only prescriber registration is stored, (2) only pharmacy registration

  information is stored, or (3) only patient information is stored. This is inconsistent with Celgene’s

  proposed construction, where “computer readable storage medium” means a single, centralized

  database in which all prescriber, pharmacy and patient registration information is stored.

         Like the specification of the REMS patents, the specification of the ’501 patent explicitly

  contemplates an arrangement in which prescriber, pharmacy and patient registration information

  are stored in three separate computer readable storage media. Indeed, the specification of the ’501

  patent uses almost identical language to describe this arrangement. Murray Decl. Ex. E, ’501

  patent 4:50-57 (regarding pharmacies); id. at 5:25-33 (regarding patients). In concluding that the

  term “computer readable storage medium” did not require a single, centralized database, the PTAB

  relied on this language in the specification of the ’501 patent, stating that “[Celgene’s] position –

  that the storage medium of claim 1 must be ‘centralized’ to include, in one database, all registration

  information – is not supported by the disclosure of the ’501 patent specification.” Murray Decl.

  Ex. F, FWD in IPR2015-01092, at 10.

         Other intrinsic evidence showing that Celgene’s proposed construction is wrong involves

  the use of the term “computer readable storage medium” in certain dependent claims of the REMS

  patents. For example, claim 1 of the ’784 patent requires entering certain patient information in a

  “computer readable storage medium.” ECF No. 26-3, Hetero Answer Ex. C, ’784 patent at claims.



                                                   22
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 30 of 43 PageID: 9405



  Claim 2 is dependent on claim 1 and adds the requirement that the physician who prescribed the

  drug (i.e., the prescriber) be registered in the “computer readable storage medium” of claim 1. Id.

  Likewise, claim 3 is dependent on claim 1 and adds the requirement that the pharmacy be

  registered in the “computer readable storage medium” of claim 1. Id. The usage of “computer

  readable storage medium” in claims 1-3 of the ’784 patent is inconsistent with Celgene’s proposed

  construction. If the term “computer readable storage medium” required a single, centralized

  database in which all prescriber, pharmacy and patient registration information was stored, claim

  1—through use of the term “computer readable storage medium” itself—would already require

  that all prescriber and pharmacy registration information be stored in a “computer readable storage

  medium,” and dependent claims 2 and 3 would not further limit claim 1 and thus be improper.

  Claims 1-3 of the ’977 patent are almost identical to claims 1-3 of the ’784 and illustrate the same

  point. ECF No. 26-2, Hetero Answer Ex. B, ’977 patent at claims. A requirement added by a

  dependent claim should not be read into the independent claim from which it depends. See GE

  Lighting Sols., LLC v. Agilight, Inc., 750 F.3d 1304, 1310 (Fed. Cir. 2014). Accordingly,

  Celgene’s proposed construction—which makes that precise error—should be rejected.

                 2.      Prescription Approval Code

             Claim Term                           Celgene’s Proposal                  Defendants’
                                                                                       Proposal
   “prescription approval code”       a code representing that an affirmative risk    code
                                      assessment has been made based upon             representing
   ʼ720 patent claims 1-21, 23-32;    risk-group assignment and the information       consent to fill
   ʼ977 patent claims 1-23, 25-34;    collected from the patient, and that is         a prescription
   ʼ784 patent claims 1-23, 25-34;    generated only upon a determination that
   ʼ886 patent claims 1-7;            the risk of a side effect occurring is
   ʼ531 patent claims 1-40            acceptable




                                                  23
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 31 of 43 PageID: 9406



          The specification of the REMS patents describes a procedure for avoiding distribution of a

  drug to patients who might suffer adverse side effects if they receive the drug by (1) collecting

  information from the patient relating to whether the patient is likely to suffer the adverse side effect

  if the patient receives the drug, (2) assigning the patient to a “risk group” based on that collected

  information, (3) determining whether the risk that the patient suffers the adverse side effect is

  acceptable based on the collected information and risk-group assignment, and (4) generating a

  “prescription approval code” to be retrieved or received by the pharmacy if the risk is acceptable.

  Defendants contend that the term “prescription approval code” should be construed to mean a

  “code representing consent to fulfill a prescription,” while Celgene contends that the term means

  “a code representing that an affirmative risk assessment has been made based upon risk-group

  assignment and the information collected from the patient, and that is generated only upon a

  determination that the risk of a side effect occurring is acceptable.” As explained below, the

  evidence demonstrates that Defendants’ proposed construction should be adopted.

          First, the specification indicates that a “prescription approval code” is “preferably” not

  provided unless certain information—the prescriber, the pharmacy, the patient, the patient’s risk

  group assignment and the patient’s informed consent—is registered in the computer readable

  storage medium. ECF No. 26-1, Hetero Answer Ex. A, ’720 patent 13:45-49. By use of the term

  “preferably,” the specification implicitly indicates that a prescription approval may be provided

  even if this information—including the risk group assignment—is not registered in the computer

  readable storage medium. Moreover, the specification does not mention an “affirmative risk

  assessment” as the kind of information that is “preferably” registered in the computer storage

  medium before a prescription approval code is provided.              This strongly suggests that an

  “affirmative risk assessment” is not required before a “prescription approval code” is provided.



                                                    24
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 32 of 43 PageID: 9407



         The specification also indicates that, in certain circumstances, generation of the

  prescription approval code “may further require” the registration of additional information—

  including periodic surveys and the results of diagnostic tests—in the computer readable storage

  medium. Id. at 13:49-54, 14:67-15:3. But again, through use of the words “may further require,”

  the specification indicates that a prescription approval code may be provided without the

  registration of this additional information in the computer readable storage medium. And more

  importantly, the specification does not even mention an “affirmative risk assessment” as the type

  of information that may be required before a prescription approval code is provided. Notably, no

  portions of the specification indicate that any particular information—and certainly not an

  affirmative risk assessment—must be registered in the computer readable storage medium before

  a prescription approval code is provided.

         Other language in the claims also supports the REMS Defendants’ position. Specifically,

  many claims contain language explicitly stating that a prescription approval code is provided after

  an affirmative risk assessment has been made. For example, the final step of claim 1 of the ’720

  patent reads: “upon a determination that said risk is acceptable, generating a prescription approval

  code to be retrieved by said pharmacy before said prescription is filled.” Id. at claim 1. Similarly,

  the final step of claim 1 of the ’977 patent reads: “upon a determination that the risk is acceptable,

  generating the prescription approval code to be retrieved by the pharmacy before the prescription

  is filled.” ECF No. 26-2, Hetero Answer Ex. B, ’977 patent at claim 1. Other independent asserted

  claims – claim 28 of the ’720 patent, and claim 1 of the ’784 patent – contain similar language

  indicating that a prescription approval code is generated after an affirmative risk group assessment

  has been made. ECF No. 26-1, Hetero Answer Ex. A, ’720 patent at claim 28; id. at Ex. C, ’784

  patent at claim 1. This language would be superfluous under Celgene’s proposed construction of



                                                   25
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 33 of 43 PageID: 9408



  “prescription approval code,” which defines that term as inherently requiring that an affirmative

  risk group assessment has been made. Thus, Celgene’s proposed construction violates the well-

  established rule that “claims are interpreted with an eye toward giving effect to all terms in the

  claim.” See Digital-Vending Servs. Int’l, LLC v. Univ. of Phoenix, Inc., 672 F.3d 1270, 1275 (Fed.

  Cir. 2012) (quoting Bicon, 441 F.3d at 950).

         This case is very much like Digital-Vending, where the claim term to be construed was

  “registration server.” Some of the claims further required that the claimed “registration server” be

  “free of content managed by the architecture.” The district court construed term “registration

  server” to require a server that was “free of content managed by the architecture.” The Federal

  Circuit reversed, stating as follows:

         If “registration server” were construed to inherently contain the “free of content managed
         by the architecture” characteristic, the additional “each registration server being further
         characterized in that it is free of content managed by the architecture” language in many of
         the asserted claims would be superfluous. . . In this case, the reference in some claims to a
         “registration server being further characterized in that it is free of content managed by the
         architecture” strongly implies that the term “registration server,” standing alone, does not
         inherently mean a server that is free of managed content.

  Id. at 1274-75. Here, if “prescription approval code” was interpreted to inherently require that an

  affirmative risk assessment had been made, then the additional language in many of the asserted

  claims requiring that the “prescription approval code” is generated after an affirmative risk

  assessment has been made would be superfluous. As in Digital-Vending, this strongly suggests

  that the term “prescription approval code” does not have the inherent characteristic of indicating

  that an affirmative risk assessment has been made.

         Extrinsic evidence also supports the REMS Defendants’ proposed construction.              In

  Celgene v. Natco, Celgene itself proposed that the term “approval code” in the claims of the REMS

  patents should be interpreted to mean “symbol(s) representing consent to fill a prescription.”

  Celgene v. Natco, D.I. 81, July 18, 2011 JCCS Ex. A at 1. Celgene even argued for this
                                                  26
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 34 of 43 PageID: 9409



  construction in two briefs submitted to this Court. Id. at D.I. 86, Celgene Opening Claim

  Construction Br. at 14-16; id. at D.I. 111, Celgene’s Responsive Claim Construction Br. at 8-9.

  Defendants’ proposed construction of “prescription approval code” in this case—“code

  representing consent to fill a prescription”—simply replaces the word “symbol(s)” in Celgene’s

  proposed construction from the Celgene v. Natco case with the word “code.” This should be

  acceptable to Celgene since it has included “code” in its proposed construction in this case.

  Celgene can hardly argue that Defendants’ proposed construction is unreasonable.

         The one piece of evidence that supports Celgene’s proposed construction is that, in an IPR

  proceeding involving the ’720 patent, the PTAB adopted Celgene’s proposed construction. But

  the PTAB’s decision was largely based on a single, unexplained admission from the challenger’s

  expert at a deposition, rather than on the intrinsic evidence. Murray Decl. Ex. G, FWD in IPR2015-

  01096 at 14-15. Defendants were not parties to that IPR proceeding and will not have an

  opportunity to examine that expert. Moreover, the PTAB held that all but one of the claims of the

  ’720 patent was unpatentable due to obviousness, and thus the PTAB’s narrower construction of

  “prescription approval code” was not necessary to its decision (i.e., it would have held the claims

  unpatentable even if it had adopted the challenger’s broader construction). In these circumstances,

  it would be unfair to give the PTAB’s decision substantial weight.

         One final piece of evidence merits discussion here. In the IPR proceeding, Celgene relied

  heavily on the following statement in the prosecution history of the ’720 patent to support its

  position, although the PTAB did not appear to rely on that statement in reaching its decision:

         Claim 1 further requires an assessment, based upon the risk group assignment and
         information collected from the patient, as to whether the risk of the side effect occurring is
         acceptable. Upon a determination that the risk is acceptable, and only upon such a
         determination, a prescription approval code is generated, which must be retrieved by the
         pharmacy before the prescription may be filled. Thus, the prescription approval code is
         not merely a number that is associated with the prescription, but represents the fact that a

                                                  27
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 35 of 43 PageID: 9410



         determination has been made that the risk of the side effect occurring is acceptable, and
         that approval – an affirmative decision – has been made for the prescription to be filled.

  Murray Decl. Ex. H, ’720 PH, June 25, 2001 Amendment at 3-4 (emphasis in original). Celgene

  tries to twist this statement into a definition of “prescription approval code.” But what the

  statement is really saying is that claim 1 as a whole requires a prescription approval code that

  represents the fact that an affirmative risk assessment has been made, and not that the term

  “prescription approval code” itself inherently includes such a requirement. The REMS Defendants

  do not dispute that claim 1 requires a prescription approval code that represents the fact that an

  affirmative risk group assessment has been made. But the language that imposes that requirement

  is not the term “prescription approval code” itself, but rather the words in the claim surrounding

  that term—namely, “upon a determination that said risk is acceptable, generating a prescription

  approval code to be retrieved by said pharmacy before said prescription is filled.”

                 3.     The “Generator” Term

           Claim Term                    Celgene’s Proposal             Defendants’ Proposal
   “a generator configured to       “prescription approval code”     Indefinite
   generate a prescription          means “a code representing
   approval code”                   that an affirmative risk
                                    assessment has been made
   ʼ531 patent claims 1-20          based upon risk-group
                                    assignment and the
                                    information collected from
                                    the patient, and that is
                                    generated only upon a
                                    determination that the risk of
                                    a side effect occurring is
                                    acceptable”

                                    No construction necessary for
                                    remainder of proposed
                                    language




                                                  28
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 36 of 43 PageID: 9411



          Under 35 U.S.C. § 112, ¶ 6 (pre-AIA),16 a claim element may be expressed as a means for

  performing a function recited in the claim. Such elements are referred to as “means-plus-function”

  limitations. Such a limitation covers the structure described in the specification for performing

  the recited function and its equivalents, rather than all structures that could perform that function.

  To be considered such a limitation, the term need not use the word “means.” Williamson, 792 F.3d

  at 1348-49 (failure to use the word “means” creates a rebuttable presumption that 35 U.S.C. § 112,

  ¶ 6 does not apply, but it is not a strong presumption).

          Claim 1 of the ’531 patent recites “a generator configured to generate a prescription

  approval code.” Defendants contend this term is a “means-plus-function” claim term but that it is

  indefinite because the specification does not “clearly link or associate” any structure with the

  recited function. Celgene contends that the term is not a means-plus-function limitation, and that

  it is not indefinite.17

          If a claim term does not have a sufficiently definite meaning as the name for a structure but

  merely recites a function to be performed, then the term is a means-plus-function limitation. Adv.

  Ground Info. Sys., Inc. v. Life360, Inc., 830 F.3d 1341, 1347-48 (Fed. Cir. 2016) (term “symbol

  generator” subject to § 112, ¶ 6 because the term is not used to designate structure). The term

  “generator configured to generate a prescription approval code” does not have a sufficiently

  definite meaning as the name for a structure (“generator” is not used in the specification), but



  16
     In 2011, Congress passed the America Invents Act (“AIA”), Pub.L. No. 112-29, which took
  effect on September 16, 2012, and which amended 35 U.S.C. § 112 and renamed its subsections,
  previously named paragraphs 1-6, as paragraphs (a)-(f). Williamson v. Citrix Online, LLC, 792
  F.3d 1339, 1343 n.2 (Fed. Cir. 2015). Because the applications that issued into the REMS patents
  were filed before the AIA’s effective date, the pre-AIA version of § 112 applies
  17
     Celgene’s proposed construction does not reveal its position on whether the term is a means-
  plus-function limitation. However, in its Response to Defendants’ Invalidity Contentions on the
  REMS patents, Celgene stated its position. See Murray Decl. Ex. I, Celgene’s Response to
  Defendants’ Invalidity Contentions on the REMS patents at 174-75.
                                                   29
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 37 of 43 PageID: 9412



  rather is simply another way of saying “means for generating.” Accordingly, the term is a means-

  plus-function limitation subject to § 112, ¶ 6.

         Where a claim term is subject to 35 U.S.C. § 112, ¶ 6, but the specification fails to “clearly

  link or associate” structure described in the specification with the recited function, the claim is

  invalid for indefiniteness under 35 U.S.C. § 112, ¶ 2 (pre-AIA). See Med. Instrumentation &

  Diagnostics Corp. v. Elekta AB, 344 F.3d 1205, 1210 (Fed. Cir. 2003). Here, there is no structure

  described in the specification of the ’531 patent that is clearly linked or associated with the recited

  function of generating a prescription approval code.         The only references to generating a

  prescription approval code in the specification identify no structure for doing so. ECF No. 26-5,

  Hetero Answer Ex. E, ’531 patent 13:41-53, 14:63-67, 16:11-22. Although the specification

  indicates that a prescription approval code is retrieved from a computer readable storage medium,

  it does not indicate that that medium generates the prescription approval code. The PTO stated as

  much during prosecution of an application in the chain leading to the ’531 patent. Murray Decl.

  Ex. J, App. 11/437,551 PH, August 12, 2010 Office Action at 3 (“[t]he written description fails to

  disclose a computer readable medium “generating a prescription approval code.”) and November

  12, 2010 Office Action at 5. Accordingly, claim 1 of the ’531 patent and the claims dependent

  therefrom (claims 2-20) are invalid for indefiniteness. 18

  V.     CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Court adopt their

  constructions of the disputed terms.




  18
    Claim terms may be held invalid for indefiniteness on this basis during the claim construction
  proceedings. See Jazz Pharm., Inc. v. Amneal Pharm., LLC, No. 13-0391 (ES) (JAD), 2017 WL
  5128748, *4-8 (D.N.J. Nov. 6, 2017).

                                                    30
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 38 of 43 PageID: 9413



  Dated: November 15, 2018              Respectfully submitted,

                                        By: /s/_Melissa Flax___________
                                        Melissa Flax
                                        Michael Cross
                                        CARELLA, BYRNE, CECCHI, OLSTEIN,
                                         BRODY & AGNELLO, P.C.
                                        5 Becker Farm Road
                                        Roseland, NJ 07068
                                        973-994-1700
                                        mflax@carellabyrne.com
                                        mcross@carellabyrne.com

                                        Of Counsel:
                                        Andrew M. Alul
                                        Richard T. Ruzich
                                        Stephen R. Auten
                                        Brian P. Murray
                                        Roshan P. Shrestha, Ph.D.
                                        TAFT STETTINIUS & HOLLISTER LLP
                                        111 East Wacker Drive
                                        Suite 2800
                                        Chicago, IL 60601
                                        312-527-4000
                                        aalul@taftlaw.com
                                        sauten@taftlaw.com
                                        rruzich@taftlaw.com
                                        bmurray@taftlaw.com
                                        rshrestha@taftlaw.com

                                        Attorneys for Defendants
                                        Apotex Inc. and Apotex Corp.


                                        By: /s/_ Melissa Flax___________
                                        Melissa E. Flax
                                        Michael Cross
                                        CARELLA, BYRNE, CECCHI, OLSTEIN,
                                        BRODY & AGNELLO, P.C.
                                        5 Becker Farm Road
                                        Roseland, NJ 07068-1739
                                        973-994-1700
                                        mflax@carellabyrne.com
                                        mcross@carellabyrne.com

                                        Of Counsel:

                                       31
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 39 of 43 PageID: 9414



                                        Stephen R. Auten
                                        Andrew M. Alul
                                        Richard T. Ruzich
                                        Brian P. Murray
                                        Roshan P. Shrestha, Ph.D.
                                        TAFT STETTINIUS & HOLLISTER LLP
                                        111 East Wacker Drive
                                        Suite 2800
                                        Chicago, IL 60601
                                        312-527-4000
                                        sauten@taftlaw.com
                                        aalul@taftlaw.com
                                        rruzich@taftlaw.com
                                        bmurray@taftlaw.com
                                        rshrestha@taftlaw.com

                                        Attorneys for Defendants
                                        Hetero Labs Limited, Hetero Labs Limited
                                        Unit-V, Hetero Drugs Limited, and Hetero
                                        USA, Inc.


                                        By: /s/ Robert J. Fettweis__________
                                        Robert J. Fettweis
                                        FLEMING RUVOLDT PLLC
                                        250 Moonachie Road
                                        Moonachie, NJ 07074
                                        Telephone: (201) 518-7878
                                        rfettweis@flemingruvoldt.com

                                        Of Counsel:
                                        C. Kyle Musgrove
                                        John W. Bateman
                                        Yifang Zhao
                                        HAYNES & BOONE, LLP
                                        800 17th St. NW, Suite 500
                                        Washington, D.C. 20006
                                        Telephone: (202) 654-4500
                                        kyle.musgrove@haynesboone.com
                                        john.bateman@haynesboone.com
                                        eva.zhao@haynesboone.com

                                        Bruce D. DeRenzi, Esq.
                                        BRECKENRIDGE PHARMACEUTICAL,
                                        INC.
                                        60 East 42nd Street, Suite 2410

                                       32
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 40 of 43 PageID: 9415



                                        New York, NY 10165
                                        Telephone: (646) 448-1308
                                        bderenzi@bpirx.com

                                        Attorneys for Defendant          Breckenridge
                                        Pharmaceutical, Inc.


                                        By: /s/__Liza M. Walsh_____________
                                        Liza M. Walsh
                                        Christine I. Gannon
                                        Eleonore Ofosu-Antwi
                                        WALSH PIZZI O’REILLY FALANGA LLP
                                        One Riverfront Plaza
                                        1037 Raymond Boulevard, Suite 600
                                        Newark, N.J. 07102
                                        Tel.: (973) 757-1100

                                        Of Counsel:
                                        Jay P. Lefkowitz
                                        Jeanna M. Wacker
                                        Christopher T. Jagoe
                                        Mark C. McLennan
                                        KIRKLAND & ELLIS LLP
                                        601 Lexington Avenue New York, NY 10022
                                        Tel.: (212) 446-4800
                                        lefkowitz@kirkland.com
                                        jeanna.wacker@kirkland.com

                                        Kristen P.L. Reichenbach
                                        KIRKLAND & ELLIS LLP
                                        555 California Street
                                        San Francisco, CA 94104
                                        Tel.: (415) 439-1400
                                        kristen.reichenbach@kirkland.com

                                        Attorneys for Defendant
                                        Teva Pharmaceuticals USA, Inc.


                                        By: /s/__Gurpreet Singh Walia, M.D._____
                                        Gurpreet Singh Walia, M.D.
                                        FisherBroyles, LLP
                                        100 Duffy Avenue, Suite 510
                                        Hicksville, NY 11801
                                        (516) 996-1100

                                       33
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 41 of 43 PageID: 9416



                                        gurpreet.walia@fisherbroyles.com

                                        Joseph Schramm, III
                                        FisherBroyles, LLP
                                        100 Overlook Center, Second Floor
                                        Princeton, NJ 08540
                                         (856) 733-0220
                                        joseph.schramm@fisherbroyles.com

                                        Gongjun (Gary) Ji (admitted pro hac vice)
                                        FisherBroyles, LLP
                                        445 Park Avenue, Ninth Floor
                                        New York, NY 10022
                                         (917) 733-3963
                                        gary.ji@fisherbroyles.com

                                        Gregory D. Miller
                                        Jenna Z. Gabay
                                        RIVKIN RADLER LLP
                                        21 Main Street, Suite 158
                                        Court Plaza South- West Wing
                                        Hackensack, NJ 07601
                                        (201) 287-2460
                                        gregory.miller@rivkin.com

                                        Attorneys for Defendants
                                        Aurobindo Pharma Limited, Aurobindo
                                        Pharma USA, Inc., Aurolife Pharma LLC, and
                                        Eugia Pharma Specialties Limited


                                        By: /s/__Arnold B. Calmann___________
                                        Arnold B. Calmann (ACalmann@saiber.com)
                                        Jakob B. Halpern (JHalpern@saiber.com)
                                        Monvan Hu (MHu@saiber.com)
                                        SAIBER LLC
                                        One Gateway Center, Suite 1000
                                        Newark, New Jersey 07102
                                        Telephone: (973) 622-3333

                                        Of Counsel:
                                        Tung-On Kong (tkong@wsgr.com)
                                        Kristina Hanson (thanson@wsgr.com)
                                        WILSON SONSINI GOODRICH & ROSATI
                                        P.C.
                                        One Market Street

                                       34
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 42 of 43 PageID: 9417



                                        Spear Tower, Suite 3300
                                        San Francisco, CA 94105
                                        Telephone: (415) 947-2000

                                        Elham Firouzi Steiner (esteiner@wsgr.com)
                                        Jacqueline Altman
                                        (jacqueline.altman@wsgr.com)
                                        Nathan Scharn (nschanrn@wsgr.com)
                                        Sarah Siedlak (ssiedlak@wsgr.com)
                                        WILSON SONSINI GOODRICH & ROSATI
                                        P.C.
                                        12235 El Camino Real
                                        San Diego, California 92130
                                        Telephone: (858) 350-2300

                                        Attorneys for Defendants
                                        Mylan Pharmaceuticals Inc., Mylan N.V., and
                                        Mylan Inc.




                                       35
Case 2:17-cv-03387-ES-MAH Document 250 Filed 11/15/18 Page 43 of 43 PageID: 9418



                                CERTIFICATE OF SERVICE

         I hereby certify that on the 15th day of November, 2018, I caused the foregoing

  DEFENDANTS’ OPENING CLAIM CONSTRUCTION BRIEF to be filed via the Court’s

  CM/ECF system and to be served upon all counsel of record by CM/ECF and electronic mail.



                                            /s/_Melissa E. Flax________________
                                                Melissa E. Flax, Esq.
